        Case 1:17-cv-02041-RJL Document 158-3 Filed 07/08/21 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 MIKHAIL FRIDMAN, PETR AVEN, and
 GERMAN KHAN,

                         Plaintiffs,

 v.                                                          Civil Action No. 1:17-2041-RJL

 BEAN LLC a/k/a FUSION GPS, and GLENN
 SIMPSON,

                         Defendants.



        DECLARATION OF THOMAS A. CLARE, P.C. IN SUPPORT OF
 PLAINTIFFS’ MOTION FOR AN ORDER TO SHOW CAUSE WHY DEFENDANTS’
   COUNSEL SHOULD NOT BE SANCTIONED FOR THEIR BACK-CHANNEL
     OUTREACH TO PLAINTIFFS DESPITE KNOWING PLAINTIFFS ARE
                     REPRESENTED IN THIS CASE

       I, Thomas A. Clare, P.C., declare under penalty of perjury as follows:

       1.      I am an attorney at law in good standing and licensed to practice in the District of

Columbia (D.C. Bar No. 461964). I am a partner of the firm Clare Locke LLP, counsel for

Plaintiffs Mikhail Fridman, Petr Aven, and German Khan. I submit this Declaration in support of

Plaintiffs’ Motion for an Order to Show Cause Why Defendants’ Counsel Should Not Be

Sanctioned for Their Back-Channel Outreach to Plaintiffs Despite Knowing Plaintiffs Are

Represented by Counsel in This Case. Unless otherwise stated, I have personal knowledge of the

facts set forth in this Declaration and, if called as a witness, I could and would testify under oath

competently thereto.

       2.      I spoke with William (Bill) Taylor—a partner in the law firm Zuckerman Spaeder

LLP, counsel to Fusion GPS, and previously counsel-of-record to Defendants in this case—by




                                                 1
        Case 1:17-cv-02041-RJL Document 158-3 Filed 07/08/21 Page 2 of 3




telephone after he called Plaintiff Khan’s son-in-law, Alex Rolf van der Zwaan, to make a

settlement overture to Plaintiffs. During that call, I spoke with Mr. Taylor about his telephone call

to Mr. van der Zwaan. Mr. Taylor acknowledged making that call, acknowledged making a

settlement overture to Mr. van der Zwaan during that call, and acknowledged asking Mr. van der

Zwaan during that call to convey that settlement overture to Plaintiff Khan.

       3.      Attached hereto as Exhibit A is a true and correct copy of a letter from Thomas A.

Clare, P.C. to Joshua A. Levy, dated April 16, 2021. In the letter, I asked Mr. Levy about

Mr. Taylor’s reach-out to Plaintiffs through Plaintiff Khan’s son-in-law and whether he was aware

of or authorized that outreach because I wanted to give Mr. Levy the benefit of the doubt, not

assume that he or his partner were complicit in Mr. Taylor’s out-reach, and give Mr. Levy a chance

to explain the circumstances. Mr. Levy did not respond to this letter.

       4.      Attached hereto as Exhibit B is a true and correct copy of an email from Thomas

A. Clare, P.C. to Joshua A. Levy, dated April 28, 2021.

       5.      Attached hereto as Exhibit C is a true and correct copy of an email from Joshua A.

Levy to Thomas A. Clare, P.C., dated April 29, 2021.

       6.      Attached hereto as Exhibit D is a true and correct copy of a letter from Thomas A.

Clare, P.C. and Joseph R. Oliveri to Joshua A. Levy, dated May 12, 2021.

       7.      Attached hereto as Exhibit E is a true and correct copy of an email from Joshua A.

Levy to Joseph R. Oliveri, dated May 13, 2021 at 9:24 a.m.

       8.      Attached hereto as Exhibit F is a true and correct copy of an email from Joseph R.

Oliveri to Joshua A. Levy, dated May 13, 2021 at 9:43 a.m.

       9.      Attached hereto as Exhibit G is a true and correct copy of an email from Joshua A.

Levy to Joseph R. Oliveri, dated May 13, 2021 at 10:38 a.m.




                                                 2
        Case 1:17-cv-02041-RJL Document 158-3 Filed 07/08/21 Page 3 of 3




       10.     Attached hereto as Exhibit H is a true and correct copy of an email from Joseph R.

Oliveri to Joshua A. Levy, dated May 13, 2021 at 11:28 a.m.

       11.     Attached hereto as Exhibit I is a true and correct copy of an email from Joseph R.

Oliveri to Joshua A. Levy, dated May 17, 2021.

       12.     Attached hereto as Exhibit J is a true and correct copy of an email from Joseph R.

Oliveri to Joshua A. Levy, dated July 1, 2021 at 4:56 p.m.

       13.     Attached hereto as Exhibit K is a true and correct copy of an email from Joshua A.

Levy to Joseph R. Oliveri, dated July 1, 2021at 8:25 p.m. and an email from Joseph R. Oliveri to

Joshua A. Levy, dated July 1, 2021 at 10:17 p.m.

       14.     Attached hereto as Exhibit L is a true and correct copy of an email from Joshua A.

Levy to Joseph R. Oliveri, dated July 6, 2021.



       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.



Executed on July 8, 2021                                      /s/ Thomas A. Clare, P.C.
                                                             Thomas A. Clare, P.C.




                                                 3
